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  IT IS ORDERED as set forth below:



  Date: February 1, 2022
                                                  _____________________________________
                                                             Lisa Ritchey Craig
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________



                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                            :      CASE NUMBERS
                                             :
CYNTHIA ANDERSON-GRAYSON,                    :      BANKRUPTCY CASE
      Debtor.                                :      20-62169-LRC
_____________________________                :
                                             :
S. GREGORY HAYS AS                           :
CHAPTER 7 TRUSTEE,                           :      ADVERSARY PROCEEDING
     Plaintiff,                              :      NO. 21-05127-LRC
                                             :
      v.                                     :
                                             :
MICHAEL L. GRAYSON,                          :      IN PROCEEDINGS UNDER
Defendant.                                   :      CHAPTER 7 OF THE
                                             :      BANKRUPTCY CODE

                                      ORDER

      Before the Court is Defendant’s Motion for Extension of Time to Respond to

Adversary Complaint (Doc. 4) (the “Motion”). The Motion arises in connection with a

complaint (the “Complaint,” Doc. 1) filed by the Chapter 7 Trustee (the “Trustee”) on


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December 15, 2021. The Clerk issued a summons for the Complaint on December 16,

2021, giving Defendant until January 18, 2022, to respond. Defendant filed the Motion on

January 14, 2022. Acting pro se, Defendant asks the Court for an extension of time to find

legal counsel.

       Federal Rule of Bankruptcy Procedure 9006(b)(1) provides, in part, that “for cause

shown” the Court may grant an extension of time at its discretion “if the request … is made

before the expiration of the period originally prescribed or as extended by a previous order.”

Defendant filed his Motion before time expired to answer the Complaint, and the Court

finds that an extension of time for Defendant to secure legal counsel is warranted.

Therefore, for good cause shown,

       IT IS HEREBY ORDERED that the Motion is GRANTED. Debtor shall have

thirty (30) days from the entry of this order to respond to the Complaint.

                                 END OF DOCUMENT

Distribution List

Michael J. Bargar
Arnall Golden Gregory, LLP
Suite 2100
171 17th Street, N.W.
Atlanta, GA 30363

Michael L Grayson
2435 Haverford Way
Decatur, GA 30032




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